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                         IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                                §           No.24-30201
Robinson, Kevin Duane                                 §
                                                      §           Chapter 13
DEBTORS                                               §

                                     WAGE DEDUCTION ORDER

                 Employer                                      Chapter 13 Trustee
                                                      (Payments must be sent to this address)
The Goodyear Tire & Rubber Co                     David G. Peake
ATTN: Payroll/Garnishment Dept                    Chapter 13 Trustee
200 Innovation Way                                P.O. Box 2158
Akro, OH 44316                                    Memphis, TN 38101 Case#.24-30201

   The Court orders:

        1. Employer must deduct the following amounts from wages payable to (Robinson, Kevin
Duane: SS#xxx-xx-4416) and send the deducted funds to the Chapter 13 Trustee:

                        Monthly      Semi-monthly         Bi-Weekly      Weekly

                          $975.00           $487.50          $450.00       $225.00

         2. The first deduction must occur no later than the first payday following 7 days after the
Employer receives this order. Deducted amounts must be submitted to the Chapter 13 Trustee within 7
days of the date of the deduction. The Employer must not charge or require a fee or other cost for
compliance with this Order.

          3. The Chapter 13 Trustee must submit a copy of this Wage Deduction Order to the Employer
within 7 days of entry.

         4. The Chapter 13 Trustee may amend the amount of the payments that are due under this
Wage Deduction Order by sending a Notice of Wage Order Adjustment to Employer. The Employer
must comply with any Notice of Wage Order Adjustment received by the Employer from the Chapter 13
Trustee.

        5. This Order is NOT subject to any limitation under state or federal law regarding wage
garnishments.

           6. This Order remains effective until terminated by Order of this Court.

Signed :

                                                    ___________________________________
                                                   Marvin Isgur
                                                   U.S. Bankruptcy Judge
